               Case 1:20-cv-03791-JEB Document 21 Filed 01/19/21 Page 1 of 5




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    WISCONSIN VOTERS ALLIANCE, et al.,

             PLAINTIFFS,

    V.
                                                        CIVIL ACTION NO.: 20-3791 (JEB)
    VICE PRESIDENT MICHAEL R. PENCE,
    et al.,

             DEFENDANTS.



              MOTION TO EXTEND TIME FOR ERICK G. KAARDAL, ESQ. AND
              MOHRMAN, KAARDAL & ERICKSON, P.A. TO FILE RESPONSE TO
                  JANUARY 7, 2021, MINUTE ORDER TO SHOW CAUSE

            Non-Party Respondents Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A.

(collectively referred to as “Plaintiffs’ Counsel”), by and through their counsel, Justin M. Flint,

Channing L. Shor, and ECCLESTON & WOLF, P.C., pursuant to Rules 6(b)(1)(A) and 7(b) of the of

the Federal Rules of Civil Procedure and Rule 7(m) of the Local Rules1, hereby file this Motion to

Extend Time for Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A. to File a

Response to this Court’s January 7, 2021, Minute Order to Show Cause in the above-captioned

matter, and in support thereof respectfully state:

         1. On January 7, 2021, this Court issued a Minute Order which provides “[a]s Plaintiffs’ [16]

Notice of Voluntary Dismissal has now terminated the litigation, the Court ORDERS that by

January 22, 2021, Plaintiffs’ counsel shall show cause why the Court should not refer him to the




1
 Pursuant to Local Rule 7(m) because this case has been dismissed and is closed, there are no
opposing counsel or parties in this lawsuit to confer with regarding this non-dispositive, procedural
motion.
           Case 1:20-cv-03791-JEB Document 21 Filed 01/19/21 Page 2 of 5




Committee on Grievances for all of the reasons discussed in its recent [10] Memorandum Opinion.

So ORDERED by Judge James E. Boasberg on 1/7/2021.”

   2. Undersigned counsel was recently retained to represent Plaintiffs’ Counsel in defense of

the January 7, 2021, Minute Order to Show Cause (“Show Cause Order”). Undersigned counsel

respectfully requests a two-week extension of time until February 5, 2021, for Plaintiffs’ Counsel

to file their response to the Show Cause Order.

   3. Good cause exists to grant this request as there are extensive filings that undersigned

counsel must analyze before they are in a position to file Plaintiffs’ Counsel’s response the Show

Cause Order. For example, the Complaint [ECF No. 1] is 119 pages; the Motion for Preliminary

Injunction and supporting Memorandum [ECF Nos. 2, 4] are 54 pages; and the Affidavit with the

Appendix filed for the Motion for Preliminary Injunction [ECF No. 5] is 1,573 pages.

   4. Moreover, good cause exists for the brief two-week extension of time because undersigned

counsel’s office is located at 1629 K Street, NW in Washington, DC. Due to unprecedented

extensive road closures and restricted access points throughout Washington, DC associated with

the 59th Presidential Inauguration on January 20, 2021, undersigned counsel are currently working

remotely from home. See, e.g. Ex. A, Street and Bridge Closures published on DC.gov website

and Ex. B, Map of Closures published on DC.gov website.

   5. There will no prejudice if this Court grants this Motion because the extension of this

deadline will not impact any other deadlines as this case was dismissed on January 7, 2021, and

was closed by the Clerk on January 8, 2021. See Ex. C, Docket and Minute Order dated January

7, 2021.

   6. Finally, it is in the interests of justice for Plaintiffs’ Counsel to have a full and fair

opportunity to provide a substantive response to the Show Cause Order.




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   7. This is Plaintiffs’ Counsel’s first request to extend time to respond to the Show Cause

Order in this matter.

   8. Pursuant to Local Rule 7(m) because this case has been dismissed and is closed, there are

no opposing counsel or parties in this lawsuit to confer with regarding this non-dispositive,

procedural motion.

   9. In conclusion, good cause exists for this Court to grant this Motion and provide Plaintiffs’

Counsel a two (2) week extension of time until February 5, 2021, to file a response to the Show

Cause Order because undersigned counsel were recently retained, there are over 1,600 pages of

documents filed on the public record to review, the 59th Presidential Inauguration with associated

unprecedented street closures and restricted access points throughout Washington, DC is causing

substantial business disruptions, and the brief two-week extension of time will not cause

unnecessary delay.

       WHEREFORE, for the foregoing reasons, the Plaintiffs’ Counsel respectfully requests

this Court grant this Motion and permit Plaintiffs’ Counsel to respond to this Court’s January 7,

2021, Minute Order to Show Cause by February 5, 2021.

                                                    Respectfully submitted,

                                                    ECCLESTON & WOLF, P.C.

                                                    /s/ Channing L. Shor
                                                    Justin M. Flint (#491782)
                                                    Channing L. Shor (#1024861)
                                                    1629 K Street, N.W., Suite 260
                                                    Washington, D.C. 20006
                                                    (202) 857-1696 (Tel)
                                                    (202) 857-0762 (Fax)
                                                    flint@ewdc.com
                                                    shor@ewdc.com
                                                    Counsel for Erick G. Kaardal, Esq. and
                                                    Mohrman, Kaardal & Erickson, P.A.



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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January 2021 a copy of the foregoing Motion to

Extend Time for Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A. to File a

Response to this Court’s January 7, 2021, Minute Order to Show Cause was served to all Counsel

of Record by this Court’s electronic filing system.


                                                    /s/ Channing L. Shor
                                                    Channing L. Shor (#1024861)




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


WISCONSIN VOTERS ALLIANCE, et al.,

         PLAINTIFFS,

V.
                                                      CIVIL ACTION NO.: 20-3791 (JEB)
VICE PRESIDENT MICHAEL R. PENCE,
et al.,

         DEFENDANTS.


                    MEMORANDUM OF POINTS AND AUTHORITIES
                     IN SUPPORT OF MOTION TO EXTEND TIME

     1. Fed. R. Civ. P 6(b)(1)(A);

     2. LCvR 7;

     3. The reasons set forth in the Motion;

     4. The inherent powers of this Court; and

     5. Good cause shown.

                                                     Respectfully submitted,

                                                     ECCLESTON & WOLF, P.C.

                                                     /s/ Channing L. Shor
                                                     Justin M. Flint (#491782)
                                                     Channing L. Shor (#1024861)
                                                     1629 K Street, N.W., Suite 260
                                                     Washington, D.C. 20006
                                                     (202) 857-1696 (Tel)
                                                     (202) 857-0762 (Fax)
                                                     flint@ewdc.com
                                                     shor@ewdc.com
                                                     Counsel for Erick G. Kaardal, Esq. and
                                                     Mohrman, Kaardal & Erickson, P.A.




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 WISCONSIN VOTERS ALLIANCE, et al.,

         PLAINTIFFS,

 V.
                                                    CIVIL ACTION NO.: 20-3791 (JEB)
 VICE PRESIDENT MICHAEL R. PENCE,
 et al.,

         DEFENDANTS.



                                           ORDER

        Upon consideration of the Motion to Extend Time for Erick G. Kaardal, Esq. and

Mohrman, Kaardal & Erickson, P.A. to File a Response to this Court’s January 7, 2021, Minute

Order to Show Cause, good cause shown, and the entire record in this case, it is this _____ day of

______________ 2021, hereby

        ORDERED that the Motion to Extend Time for Erick G. Kaardal, Esq. and Mohrman,

Kaardal & Erickson, P.A. to File a Response to this Court’s January 7, 2021, Minute Order to

Show Cause is hereby GRANTED; and it is further

        ORDERED Erick G. Kaardal, Esq. and Mohrman, Kaardal & Erickson, P.A. shall file

their response to this Court’s January 7, 2021, Minute Order to Show Cause on or by February 5,

2021.



                                                    Judge James E. Boasberg
                                                    United States District Judge


Copies to:
All Parties of Record
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             Exhibit A
Street Closures | inauguration                                               Page 1 of 5
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                                         coronavirus.dc.gov
              Read Mayor Bowser’s Presentation from the Situational Update: January 15.
                  DC Entered Phase Two of Reopening on June 22. View the Guidance.




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 Street Closures




https://inauguration.dc.gov/closures                                                      1/18/2021
Street Closures | inauguration                                               Page 2 of 5
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 National Mall and National Parks

 The National Park Service, at the request of and in cooperation with the United States
 Secret Service, will implement a temporary public closure of the National Mall beginning at
 11 am on Friday, January 15 and extending through at least Thursday, January 21.

 In support of this effort, the National Park Service is also temporarily closing to the
 public the following roadways and park areas:

        • East and West Potomac Parks including Hains Point, all memorials and NPS areas
          contained within;
        • On and off ramps to Potomac Park, from I-395 N and I-395;
        • Lincoln Memorial Circle including all adjacent sidewalks and roadways;
        • Memorial Bridge, from Washington Boulevard to Lincoln Memorial Circle, including
          all adjacent sidewalks; and
        • The White House Complex, all of Lafayette Park and the White House sidewalk, the
          Ellipse, First Division Park, and Sherman Park

 The National Park Service and the US Secret Service remind the public that security
 restrictions pertinent to the 59th Presidential Inauguration have closed public access to the
 Martin Luther King, Jr. Memorial, through January 21. For information regarding access
 within the Washington, DC area, please visit
 https://www.secretservice.gov/protection/inauguration.




https://inauguration.dc.gov/closures                                                1/18/2021
Street Closures | inauguration                                               Page 3 of 5
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 Street Closures

  • US Secret Service Releases Updated Transportation Security Information, Public Access
    Map

 Beginning at 6 am on Friday, January 15, all parking garages in restricted zones will be
 blocked off. Any vehicle still in a garage or loading zone in these zones at 6 am on Friday
 must remain there until after the Inauguration. Businesses that need to receive deliveries
 will be advised of an off-site screening facility.

        • Residents and businesses between 19th to 14th Street NW and K Street to
          Constitution Avenue are already being advised of restrictions beginning on January
          14. More information coming.

 The following areas will be closed to public use:

        • Constitution Ave, NW from Rock Creek Parkway, NW to 17th Street NW, to include
          the adjacent sidewalks;
        • 17th Street , NW to H Street, NW, to include the adjacent sidewalks;
        • H Street, NW to 15th Street, NW, to include adjacent sidewalks;
        • 15th Street, NW to Pennsylvania Avenue, NW to include adjacent sidewalks;
        • Pennsylvania Avenue, NW, from 15th Street, NW to 3rd Street, SW, and adjacent
          sidewalks (except for designated areas for First Amendment activities to be
          overseen by the National Park Service and United States Park Police);
        • 3rd Street, SW, from Pennsylvania Avenue, NW, to Independence Avenue, SW, and
          adjacent sidewalks;
        • Independence Avenue, SW, from 3rd Street, SW, to Ohio Drive, SW, and adjacent
          sidewalks; and
        • Ohio Drive, SW, to Rock Creek Parkway, NW, and adjacent sidewalks


 Bridge Closures

 The Virginia Department of Transportation and Virginia State Police will implement several
 bridge and road closures from Virginia into Washington, DC beginning Tuesday, Jan. 19.
 From 6 am Tuesday, Jan. 19 through 6 am, Thursday, Jan. 21, I-66 and I-395 bridges into DC
 will be closed and traffic will be diverted as follows:

 I-66: Eastbound traffic will be diverted at Route 110 (Exit 75).
 I-395: Northbound traffic will be diverted at the George Washington Memorial Parkway (Exit




https://inauguration.dc.gov/closures                                                 1/18/2021
Street Closures | inauguration                                               Page 4 of 5
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 10B).
 I-395 Express Lanes: When the lanes are northbound, all traffic will be diverted into the
 main lanes near Edsall Road.

 Drivers are urged to plan ahead, avoid the area, and use alternate routes during this time.
 Portable and overhead message signs will remind drivers to avoid the area. Those needing
 to travel in and around Northern Virginia between Jan. 19 and Jan. 21 are encouraged to
 check www.511virginia.org before they travel. Learn more.


 Public Transportation

         • Metro announced service adjustments for Metrorail and Metrobus that will be in
          effect beginning Friday, January 15 through the end of service on Thursday, January
          21.

           • Red Line: Farragut North, Judiciary Square, Union Station
           • Yellow Line/Green Line: National Archives
           • Blue Line: Arlington Cemetery
           • Blue Line / Orange Line / Silver Line: Farragut West, McPherson Square, Federal
             Center SW, Capitol South, Smithsonian, Federal Triangle

         • Beginning Saturday, January 16, through Thursday, January 21 Metro Center and
          Gallery Place stations will close.
         • 26 bus routes will be detoured around the expanded security perimeter beginning
          on Friday through Thursday
         • Capital Bikeshare around the National Mall, Capitol Hill and Union Station will be
          available until further notice. Streetcar service is suspended until further notice.


 For the latest traffic, street closures, and Metro services, visit:

         • Metropolitan Police Department (MPD) Newsroom
         • MPD Traffic on Twitter
         • WMATA Newsroom
         • WMATA on Twitter




https://inauguration.dc.gov/closures                                                   1/18/2021
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             Exhibit B
US Secret Service Releases Updated Transportation Security Information, Public Access ... Page 1 of 5
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                                                          coronavirus.dc.gov
                               Read Mayor Bowser’s Presentation from the Situational Update: January 15.
                                   DC Entered Phase Two of Reopening on June 22. View the Guidance.




                "             

               US Secret Service Releases Updated Transportation Security
               Information, Public Access Map
               Sunday, January 17, 2021
               (Washington, DC) – Today the US Secret Service released updated transportation security
               information and a comprehensive public access map pertinent to the 59th Presidential
               Inauguration.


               Access into Washington, DC will be limited Jan. 16-21. The following is a comprehensive map and
               summary of routes and their status that day:




https://inauguration.dc.gov/node/1517031                                                                         1/18/2021
US Secret Service Releases Updated Transportation Security Information, Public Access ... Page 2 of 5
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                • 14th Street Non-HOV Bridge – Remains open to all traffic until Jan. 19 at 6 a.m. through Jan. 21
                 6 a.m. All traffic diverted to I-395.
                • 14th Street Bridge HOV (North and South) – Remains open to all traffic until Jan. 19 at 6 a.m.
                 through Jan. 21 at 6 a.m.
                • Theodore Roosevelt Bridge – Remains open to all traffic until Jan. 19 at 6 a.m. through Jan. 21
                 at 6 a.m. Following closure, west bound traffic will remain open. Traffic will be diverted north
                 on Potomac Freeway.
                • Memorial Bridge – Open for northbound access around Lincoln Circle to 23rd only.
                 Southbound traffic may enter the Lincoln Circle from 23rd St. to access Memorial Bridge. All
                 access is scheduled to be closed Jan. 19 at 6 a.m. through Jan. 21 at 6 a.m.
                • Key Bridge – Remains open until Jan. 19 at 6 a.m. through Jan. 21 at 6 a.m. Following closure,
                 no access to Whitehurst Freeway and no right turn will be permitted on M St. All traffic must
                 turn left on Canal St.
                • Chain Bridge – Open to all traffic.
                • South Capitol Street Bridge on the 295 side – Remains open to all traffic until Jan. 19 at 6 a.m.
                 through Jan. 21 at 6 a.m. Following closure, northbound traffic will be closed and southbound
                 traffic will remain open.
                • Southeast/Southwest Freeway – Closed.
                • Potomac River Parkway – Open Northbound, closed Southbound from Jan. 16 at 6 a.m.
                 through Jan. 21 at 6 a.m. Access to Theodore Roosevelt Bridge remains open.
                • Rock Creek Parkway at Ohio Drive – Closed.
                • 11th Street Bridges – Remain open to all traffic until Jan. 19 at 6 a.m. through Jan. 21 at 6 a.m.
                 Following closure, northbound traffic will be closed and southbound traffic will remain open.




https://inauguration.dc.gov/node/1517031                                                                               1/18/2021
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                • 695 Bridge/Southeast Freeway – Remains open to all traffic until Jan. 19 at 6 a.m. through Jan.
                  21 at 6 a.m.
                • Sousa Bridge – Remains open to all traffic until Jan. 19 at 6 a.m. through Jan. 21 at 6 a.m.
                  Following closure, northbound traffic will be closed and southbound traffic will remain open.
                • 3rd Street Tunnel – Remains open with all exits closed. The tunnel will close Jan. 19 at 6 a.m.
                  through Jan. 21 at 6 a.m.
                • 9th Street Tunnel – Closed to all traffic.
                • 12th Street Tunnel – Closed to all traffic.
                • E Street Tunnel – Closed from Potomac River Freeway northbound and southbound.
                • Independence Ave/Maine Ave from 12th Street, SW to Memorial Bridge – Closed to all traffic.



               Road Closures
               10th St NW from F St NW to Constitution Ave NW (Red Zone)
               11th St NW from F St NW to Pennsylvania Ave NW (Red Zone)
               12th St NW from F St NW to C St SW (Red Zone)
               13 ½ St NW from Pennsylvania Ave NW (Red Zone)
               13th St NW from K St NW to Pennsylvania Ave NW (Red Zone)
               14th St NW from K St NW to C St SW (Red Zone)
               15th St NW from K St NW to Independence Ave SW (Red Zone)
               Raoul Wallenberg Pl SW from 15th St. SW to Maine Ave. SW
               16th St NW from K St NW to H St NW (Red Zone)
               17th St NW from N St NW to K St. NW
               17th St NW from N St NW to Independence Ave SW (Red Zone)
               Rhode Island Ave. NW from Bataan St. NW to N St.
               Rhode Island Ave. NW from Bataan to Connecticut Ave. NW
               M St. from 18th St. NW to Connecticut Ave. NW
               M. St. from 18th St. NW to 17th St. NW
               Connecticut Ave. NW from Jefferson Pl NW to K St. NW
               Desales St. NW from Connecticut Ave. NW to 17th St. NW
               L St. NW from 17th St. NW from 16th St. NW
               17th St. NW/Connecticut Ave from K St. NW to H St. NW
               17th St. NW from H St. to Independence Ave.
               18th St NW from K St NW to Constitution Ave NW (Red Zone)
               19th St NW from K St NW to Constitution Ave NW (Red Zone)
               1st St NW from D St NW to Constitution Ave. NW
               1st St. NE/SE from Mass. Ave to North Carolina Ave. SE
               2nd St SW from Washington Ave SW to E St SW
               3rd St NW/SW from Mass. Ave/H St. NW to E St SW
               4th St NW from H St NW to D St NW
               4th St NW from Pennsylvania Ave NW to C St. SW
               5th St NW from H St. NW to D St. NW
               6th St NW from G St NW to Constitution Ave NW
               6th St. SW from Independence Ave. SW to C St. SW
               7th St NW from F St NW to C St. SW
               8th St NW from F St to D St NW
               9th St NW from F St NW to Capitol Square Pl SW
               C St NW from 19th St NW to 17th St NW
               C St NW from 6th St NW to 3rd St NW
               C St. SW from 14th SW to 12th SW
               C St. SW from 6th St. SW to 2nd St. SE
               C St SW from 14th St SW to 2nd St SW/SE
               Constitution Ave NW from 23rd St NW to 2nd St. NE
               D St NW from 18th St NW to 17th St NW
               D St NW/NE from 9th St NW to 2nd St. NE
               D St SW from 4th St SW to 1st St. SE
               Daniel French Dr NW from Lincoln Memorial Circle NW to Independence Ave NW




https://inauguration.dc.gov/node/1517031                                                                            1/18/2021
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               E St NW from 19th St NW/E St Expy to 3rd St NW
               F St NW from 15th St NW to 12th St. NW
               F St. NW to 6th St. NW to 3rd St. NW
               F St NW from 19th St NW to 17th St NW
               F St NW from New Jersey Ave NW to N Capitol St NW
               G St NW from 15th St NW to 12th St NW
               G St NW from 19th St NW to 17th St NW
               G St NW from 6th St NW to 3rd St NW
               H St NW from 19th St NW to 12th St NW
               Henry Bacon Dr NW from Lincoln Memorial Circle NW to Constitution Ave NW
               Home Front Dr from 17th St NW to Independence Ave SW
               I St. NW from 19th NW to 12th St. NW
               Independence Ave SW from 17th St NW to Washington Ave SW
               Independence Ave. SW/Kutz Bridge from 23rd St NW to 15th St SW
               Independence Ave. SW from Ohio Dr. SW to 17th St. SW
               23rd St. SW at Independence Ave. SW
               Indiana Ave NW from 7th St NW to D St NW
               Jefferson Dr SW from 15th St SW to 3rd St SW
               K St NW from 19th St NW to 12th St NW
               Louisiana Ave NW from Constitution Ave NW to Mass. Ave. NW
               Madison Dr NW from 15th St SW to 3rd St SW (Red Zone)
               Maine Ave SW from 12th St SW to Kutz Bridge
               New Jersey Ave SE from Independence Ave SE to E St SW (Red Zone)
               New York Ave NW from 15th St NW to 12th St NW (Red Zone)
               Ohio Drive SW from Ohio Dr. Bridge to Rock Creek Pwky (Red Zone)
               Pennsylvania Ave NW from 15th St NW to 3rd St NW (Red Zone)
               Pennsylvania Ave NW from 19th St to 15th St NW (Red Zone)
               Raoul Wallenberg Pl SW from Independence Ave SW to Maine Ave SW (Red Zone)
               S Capitol St SE from Independence Ave. SW to E St SE(Red Zone)
               Virginia Ave NW from 19th St NW to Constitution Ave NW(Red Zone)
               Washington Ave SW from Independence Ave SW to E St SW(Red Zone)
               Washington Ave SW from Independence Ave SW to S Capitol St SE (Red Zone)


               For the latest security information and updates relating to the 59th Presidential Inauguration,
               visit https://www.secretservice.gov/protection/inauguration




                Additional Websites                                          Resources



                Mayor Muriel Bowser                                          AlertDC
                DC's COVID-19 Response
                US Secret Service
                Presidential Inauguration Committee
                Joint Congressional Committee of Inaugural Ceremonies



                  Accessibility     Privacy & Terms




https://inauguration.dc.gov/node/1517031                                                                         1/18/2021
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             Exhibit C
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                                                 U.S. District Court
                                      District of Columbia (Washington, DC)
                                 CIVIL DOCKET FOR CASE #: 1:20-cv-03791-JEB


 WISCONSIN VOTERS ALLIANCE et al v. PENCE et al                                        Date Filed: 12/22/2020
 Assigned to: Judge James E. Boasberg                                                  Date Terminated: 01/08/2021
 Cause: 28:1343 Violation of Civil Rights                                              Jury Demand: None
                                                                                       Nature of Suit: 441 Voting
                                                                                       Jurisdiction: Federal Question
 Plaintiff
 WISCONSIN VOTERS ALLIANCE                                               represented by Erick G. Kaardal
                                                                                        MOHRMAN, KAARDAL, & ERICKSON,
                                                                                        P.A.
                                                                                        150 South Fifth Street
                                                                                        Suite 3100
                                                                                        Minneapolis, MN 55402
                                                                                        (612) 341-1074
                                                                                        Fax: (612) 341-1076
                                                                                        Email: kaardal@mklaw.com
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 PENNSYLVANIA VOTERS ALLIANCE                                            represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 GEORGIA VOTERS ALLIANCE                                                 represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 ELECTION INTEGRITY FUND                                                 represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 ARIZONA VOTER INTEGRITY                                                 represented by Erick G. Kaardal
 ALLIANCE                                                                               (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 LYNIE STONE                                                             represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?984822900985487-L_1_0-1                                                      1/8
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                                                                     live database

 Plaintiff
 BARON BENHAM                                                            represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 DEBI HAAS                                                               represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 BRENDA SAVAGE                                                           represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 MATTHEW DADICH                                                          represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 LEAH HOOPES                                                             represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 RON HEUER                                                               represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 RICHARD W. KUCKSDORF                                                    represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 DEBBIE JACQUES                                                          represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 JOHN WOOD                                                               represented by Erick G. Kaardal
                                                                                        (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 SONNY BORRELLI                                                          represented by Erick G. Kaardal
 Senator                                                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 WARREN PETERSON                                                         represented by Erick G. Kaardal
https://ecf.dcd.uscourts.gov/cgi-bin/DktRpt.pl?984822900985487-L_1_0-1                                            2/8
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                                                                live database

 Representative                                                      (See above for address)
                                                                     ATTORNEY TO BE NOTICED

 Plaintiff
 MATTHEW MADDOCK                                                         represented by Erick G. Kaardal
 Representative                                                                         (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 DAIRE RENDON                                                            represented by Erick G. Kaardal
 Representative                                                                         (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 DAVID STEFFEN                                                           represented by Erick G. Kaardal
 Representative                                                                         (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 JEFF L MURSAU                                                           represented by Erick G. Kaardal
 Representative                                                                         (See above for address)
                                                                                        ATTORNEY TO BE NOTICED
 Plaintiff
 WILLIAM T LIGON                                                         represented by Erick G. Kaardal
 Senator                                                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED

 Plaintiff
 BRANDON BEACH                                                           represented by Erick G. Kaardal
 Senator                                                                                (See above for address)
                                                                                        ATTORNEY TO BE NOTICED


 V.
 Defendant
 MICHAEL RICHARD PENCE
 Vice President, in his official capacity as
 President of the United States Senate

 Defendant
 U.S HOUSE OF REPRESENTATIVES

 Defendant
 U.S. SENATE

 Defendant
 ELECTORAL COLLEGE, THE

 Defendant
 TOM WOLF
 Governor of Pennsylvania, in his official
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 capacity

 Defendant
 BRYAN CARTER
 Speaker of the Pennsylvania House of
 Representatives, in his official capacity
 Defendant
 JAKE CORMAN
 Senate majority Leader of Pennsylvania
 Senate, in his official capacity

 Defendant
 GRETCHEN WHITMER
 Governor of Michigan, in her official
 capacity

 Defendant
 LEE CHATFIELD
 Speaker of the Michigan House of
 Representatives, in his official capacity

 Defendant
 MIKE SHIRKEY
 Senate Majority Leader of the Michigan
 Senate, in his official capacity

 Defendant
 TONY EVERS
 Governor of Wisconsin, in his official
 capacity

 Defendant
 ROBIN VOS
 Speaker of the Wisconsin State Assembly, in
 his official capacity

 Defendant
 HOWARD MARKLEIN
 Senate Majority Leader of the Wisconsin
 Senate, in his official capacity
 Defendant
 BRIAN KEMP
 Governor of Georgia, in his official
 capacity

 Defendant
 DAVID RALSTON
 Speaker of the Georgia House of
 Representatives, in his official capacity


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 Defendant
 BUTCH MILLER
 President Pro Tempore of the Georgia
 Senate, in his official capacity

 Defendant
 DOUG DUCEY
 Governor of Arizona

 Defendant
 RUSSELL BOWERS
 Speaker of the Arizona House of
 Representatives

 Defendant
 RICK GRAY
 Senate Majority Leader of the Arizona
 Senate, in his official capacity


  Date Filed            #    Docket Text
  12/22/2020             1 COMPLAINT against All Defendants ( Filing fee $ 402 receipt number ADCDC-
                           7990281) filed by JEFF L MURSAU, BARON BENHAM, WARREN PETERSON,
                           PENNSYLVANIA VOTERS ALLIANCE, WISCONSIN VOTERS ALLIANCE,
                           MATTHEW MADDOCK, SONNY BORRELLI, DAVID STEFFEN, DEBBIE
                           JACQUES, MATTHEW DADICH, LEAH HOOPES, WILLIAM T LIGON, BRANDON
                           BEACH, RICHARD W KUCKSDORF, LYNIE STONE, GEORGIA VOTERS
                           ALLIANCE, BRENDA SAVAGE, RON HEUER, JOHN WOOD, DEBI HAAS,
                           ELECTION INTEGRITY FUND, DAIRE RENDON, ARIZONA VOTER INTEGRITY
                           ALLIANCE. (Attachments: # 1 Civil Cover Sheet, # 2 Summons)(Kaardal, Erick)
                           (Entered: 12/22/2020)
  12/22/2020             2 MOTION for Preliminary Injunction by ARIZONA VOTER INTEGRITY ALLIANCE,
                           BRANDON BEACH, BARON BENHAM, SONNY BORRELLI, MATTHEW DADICH,
                           ELECTION INTEGRITY FUND, GEORGIA VOTERS ALLIANCE, DEBI HAAS, RON
                           HEUER, LEAH HOOPES, DEBBIE JACQUES, RICHARD W KUCKSDORF,
                           WILLIAM T LIGON, MATTHEW MADDOCK, JEFF L MURSAU, PENNSYLVANIA
                           VOTERS ALLIANCE, WARREN PETERSON, DAIRE RENDON, BRENDA SAVAGE,
                           DAVID STEFFEN, LYNIE STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD
                           (Kaardal, Erick) (Entered: 12/22/2020)
  12/22/2020             3 NOTICE OF HEARING by ARIZONA VOTER INTEGRITY ALLIANCE, BRANDON
                           BEACH, BARON BENHAM, SONNY BORRELLI, MATTHEW DADICH, ELECTION
                           INTEGRITY FUND, GEORGIA VOTERS ALLIANCE, DEBI HAAS, RON HEUER,
                           LEAH HOOPES, DEBBIE JACQUES, RICHARD W KUCKSDORF, WILLIAM T
                           LIGON, MATTHEW MADDOCK, JEFF L MURSAU, PENNSYLVANIA VOTERS
                           ALLIANCE, WARREN PETERSON, DAIRE RENDON, BRENDA SAVAGE, DAVID
                           STEFFEN, LYNIE STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD re 2
                           MOTION for Preliminary Injunction (Kaardal, Erick) (Entered: 12/22/2020)
  12/22/2020             4 MEMORANDUM re 2 MOTION for Preliminary Injunction filed by WISCONSIN
                           VOTERS ALLIANCE, SONNY BORRELLI, RICHARD W KUCKSDORF, DEBBIE
                           JACQUES, ARIZONA VOTER INTEGRITY ALLIANCE, WARREN PETERSON,
                           DAIRE RENDON, MATTHEW DADICH, BRENDA SAVAGE, JOHN WOOD, JEFF L
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                          MURSAU, GEORGIA VOTERS ALLIANCE, BARON BENHAM, PENNSYLVANIA
                          VOTERS ALLIANCE, LEAH HOOPES, MATTHEW MADDOCK, LYNIE STONE,
                          WILLIAM T LIGON, RON HEUER, DEBI HAAS, BRANDON BEACH, ELECTION
                          INTEGRITY FUND, DAVID STEFFEN by ARIZONA VOTER INTEGRITY
                          ALLIANCE, BRANDON BEACH, BARON BENHAM, SONNY BORRELLI,
                          MATTHEW DADICH, ELECTION INTEGRITY FUND, GEORGIA VOTERS
                          ALLIANCE, DEBI HAAS, RON HEUER, LEAH HOOPES, DEBBIE JACQUES,
                          RICHARD W KUCKSDORF, WILLIAM T LIGON, MATTHEW MADDOCK, JEFF L
                          MURSAU, PENNSYLVANIA VOTERS ALLIANCE, WARREN PETERSON, DAIRE
                          RENDON, BRENDA SAVAGE, DAVID STEFFEN, LYNIE STONE, WISCONSIN
                          VOTERS ALLIANCE, JOHN WOOD. (Kaardal, Erick) (Entered: 12/22/2020)
  12/22/2020             5 AFFIDAVIT re 2 MOTION for Preliminary Injunction Declaration of Erick Kaardal by
                           ARIZONA VOTER INTEGRITY ALLIANCE, BRANDON BEACH, BARON
                           BENHAM, SONNY BORRELLI, MATTHEW DADICH, ELECTION INTEGRITY
                           FUND, GEORGIA VOTERS ALLIANCE, DEBI HAAS, RON HEUER, LEAH
                           HOOPES, DEBBIE JACQUES, RICHARD W KUCKSDORF, WILLIAM T LIGON,
                           MATTHEW MADDOCK, JEFF L MURSAU, PENNSYLVANIA VOTERS ALLIANCE,
                           WARREN PETERSON, DAIRE RENDON, BRENDA SAVAGE, DAVID STEFFEN,
                           LYNIE STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD. (Attachments: # 1
                           Appendix part 1, # 2 Appendix part 2, # 3 Appendix part 3, # 4 Appendix part 4, # 5
                           Appendix part 5, # 6 Appendix part 6, # 7 Appendix part 7, # 8 Appendix part 8, # 9
                           Appendix part 9, # 10 Appendix part 10, # 11 Appendix part 11, # 12 Appendix part 12)
                           (Kaardal, Erick) (Attachment 6 replaced on 12/23/2020) (ztnr). (Entered: 12/22/2020)
  12/22/2020             6 NOTICE of Proposed Order for Preliminary Injunction by ARIZONA VOTER
                           INTEGRITY ALLIANCE, BRANDON BEACH, BARON BENHAM, SONNY
                           BORRELLI, MATTHEW DADICH, ELECTION INTEGRITY FUND, GEORGIA
                           VOTERS ALLIANCE, DEBI HAAS, RON HEUER, LEAH HOOPES, DEBBIE
                           JACQUES, RICHARD W KUCKSDORF, WILLIAM T LIGON, MATTHEW
                           MADDOCK, JEFF L MURSAU, PENNSYLVANIA VOTERS ALLIANCE, WARREN
                           PETERSON, DAIRE RENDON, BRENDA SAVAGE, DAVID STEFFEN, LYNIE
                           STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD re 2 MOTION for
                           Preliminary Injunction (Kaardal, Erick) (Entered: 12/22/2020)
  12/22/2020                 Case Assigned to Judge James E. Boasberg. (adh, ) (Entered: 12/22/2020)
  12/22/2020             7 SUMMONS (19) Issued Electronically as to RUSSELL BOWERS, BRYAN CARTER,
                           LEE CHATFIELD, JAKE CORMAN, DOUG DUCEY, ELECTORAL COLLEGE, THE,
                           TONY EVERS, RICK GRAY, BRIAN KEMP, HOWARD MARKLEIN, BUTCH
                           MILLER, MICHAEL RICHARD PENCE, DAVID RALSTON, MIKE SHIRKEY, U.S
                           HOUSE OF REPRESENTATIVES, U.S. SENATE, ROBIN VOS, GRETCHEN
                           WHITMER, TOM WOLF. (Attachment: # 1 Notice and Consent)(adh, ) (Entered:
                           12/22/2020)
  12/22/2020             8 AFFIDAVIT re 2 MOTION for Preliminary Injunction Second Declaration of Erick G.
                           Kaardal by ARIZONA VOTER INTEGRITY ALLIANCE, BRANDON BEACH,
                           BARON BENHAM, SONNY BORRELLI, MATTHEW DADICH, ELECTION
                           INTEGRITY FUND, GEORGIA VOTERS ALLIANCE, DEBI HAAS, RON HEUER,
                           LEAH HOOPES, DEBBIE JACQUES, RICHARD W KUCKSDORF, WILLIAM T
                           LIGON, MATTHEW MADDOCK, JEFF L MURSAU, PENNSYLVANIA VOTERS
                           ALLIANCE, WARREN PETERSON, DAIRE RENDON, BRENDA SAVAGE, DAVID
                           STEFFEN, LYNIE STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD.
                           (Attachments: # 1 Appendix)(Kaardal, Erick) (Entered: 12/22/2020)
  12/23/2020                 MINUTE ORDER: The Court ORDERS that, as soon as Plaintiffs file proofs of service on

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                          all Defendants, a briefing schedule and hearing shall be set. So ORDERED by Judge
                          James E. Boasberg on 12/23/2020. (lcjeb3) (Entered: 12/23/2020)
  01/04/2021             9 ORDER: For the reasons set forth in the accompanying Memorandum Opinion, the Court
                           ORDERS that Plaintiffs' 2 Motion for Preliminary Injunction is DENIED. Signed by Judge
                           James E. Boasberg on 1/4/2021. (lcjeb1) (Entered: 01/04/2021)
  01/04/2021           10 MEMORANDUM OPINION re 9 Order on Motion for Preliminary Injunction. Signed by
                          Judge James E. Boasberg on 1/4/2021. (lcjeb1) (Entered: 01/04/2021)
  01/05/2021           11 ENTERED IN ERROR.....NOTICE Letter to Judge James E. Boasberg with attachment by
                          ARIZONA VOTER INTEGRITY ALLIANCE, BRANDON BEACH, BARON
                          BENHAM, SONNY BORRELLI, MATTHEW DADICH, ELECTION INTEGRITY
                          FUND, GEORGIA VOTERS ALLIANCE, DEBI HAAS, RON HEUER, LEAH
                          HOOPES, DEBBIE JACQUES, RICHARD W. KUCKSDORF, WILLIAM T LIGON,
                          MATTHEW MADDOCK, JEFF L MURSAU, PENNSYLVANIA VOTERS ALLIANCE,
                          WARREN PETERSON, DAIRE RENDON, BRENDA SAVAGE, DAVID STEFFEN,
                          LYNIE STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD re 10 Memorandum
                          & Opinion, 9 Order on Motion for Preliminary Injunction (Kaardal, Erick); Modified on
                          1/6/2021 (ztth). (Entered: 01/05/2021)
  01/05/2021           12 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                          ELECTORAL COLLEGE, THE served on 12/23/2020; MICHAEL RICHARD PENCE
                          served on 12/23/2020; U.S HOUSE OF REPRESENTATIVES served on 12/23/2020; U.S.
                          SENATE served on 12/23/2020 (Kaardal, Erick) (Entered: 01/05/2021)
  01/05/2021           13 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. BRYAN
                          CARTER served on 12/28/2020, answer due 1/18/2021; JAKE CORMAN served on
                          12/28/2020, answer due 1/18/2021; DOUG DUCEY served on 12/24/2020, answer due
                          1/14/2021; TONY EVERS served on 1/4/2021, answer due 1/25/2021; BRIAN KEMP
                          served on 12/26/2020, answer due 1/16/2021; HOWARD MARKLEIN served on
                          12/31/2020, answer due 1/21/2021; BUTCH MILLER served on 12/26/2020, answer due
                          1/16/2021; DAVID RALSTON served on 12/23/2020, answer due 1/13/2021; TOM
                          WOLF served on 12/24/2020, answer due 1/14/2021 (Kaardal, Erick) (Entered:
                          01/05/2021)
  01/05/2021           14 WAIVER OF SERVICE. LEE CHATFIELD waiver sent on 12/23/2020, answer due
                          2/21/2021; RICK GRAY waiver sent on 12/23/2020, answer due 2/21/2021; MIKE
                          SHIRKEY waiver sent on 12/23/2020, answer due 2/21/2021; GRETCHEN WHITMER
                          waiver sent on 12/23/20, answer due 2/21/2021. (Kaardal, Erick); Modified date of waiver
                          sent and answer due date on 1/7/2021 (ztth). (Entered: 01/05/2021)
  01/05/2021           17 RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on United
                          States Attorney General. Date of Service Upon United States Attorney General
                          12/23/2020. RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed
                          as to the United States Attorney. Date of Service Upon United States Attorney on
                          12/23/2020. ( Answer due for ALL FEDERAL DEFENDANTS by 2/21/2021.) (See
                          Docket Entry 13 to view document) (ztth) (Entered: 01/07/2021)
  01/06/2021                 NOTICE OF ERROR re 11 Notice (Other); emailed to kaardal@mklaw.com, cc'd 5
                             associated attorneys -- The PDF file you docketed contained errors: 1. Please refile
                             document, 2. Docket Entry 11 was entered in error. Please see LCvR 5.1. (ztth, ) (Entered:
                             01/06/2021)
  01/06/2021           15 NOTICE OF FILING OF PROOFS OF SERVICE by ARIZONA VOTER INTEGRITY
                          ALLIANCE, BRANDON BEACH, BARON BENHAM, SONNY BORRELLI,
                          MATTHEW DADICH, ELECTION INTEGRITY FUND, GEORGIA VOTERS

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                          ALLIANCE, DEBI HAAS, RON HEUER, LEAH HOOPES, DEBBIE JACQUES,
                          RICHARD W. KUCKSDORF, WILLIAM T LIGON, MATTHEW MADDOCK, JEFF L
                          MURSAU, PENNSYLVANIA VOTERS ALLIANCE, WARREN PETERSON, DAIRE
                          RENDON, BRENDA SAVAGE, DAVID STEFFEN, LYNIE STONE, WISCONSIN
                          VOTERS ALLIANCE, JOHN WOOD re 10 Memorandum & Opinion, 9 Order on Motion
                          for Preliminary Injunction (Kaardal, Erick) (Entered: 01/06/2021)
  01/07/2021           16 NOTICE of Voluntary Dismissal by All Plaintiffs (Kaardal, Erick) (Entered: 01/07/2021)
  01/07/2021                 MINUTE ORDER: Per Plaintiffs' 16 Notice, the Court ORDERS that the case is
                             DISMISSED WITHOUT PREJUDICE. So ORDERED by Judge James E. Boasberg on
                             1/7/2021. (lcjeb1) (Entered: 01/07/2021)
  01/07/2021                 MINUTE ORDER: As Plaintiffs' 16 Notice of Voluntary Dismissal has now terminated the
                             litigation, the Court ORDERS that by January 22, 2021, Plaintiffs' counsel shall show
                             cause why the Court should not refer him to the Committee on Grievances for all of the
                             reasons discussed in its recent 10 Memorandum Opinion. So ORDERED by Judge James
                             E. Boasberg on 1/7/2021. (lcjeb1) (Entered: 01/07/2021)
  01/07/2021           18 CERTIFICATE OF SERVICE by ARIZONA VOTER INTEGRITY ALLIANCE,
                          BRANDON BEACH, BARON BENHAM, SONNY BORRELLI, MATTHEW DADICH,
                          ELECTION INTEGRITY FUND, GEORGIA VOTERS ALLIANCE, DEBI HAAS, RON
                          HEUER, LEAH HOOPES, DEBBIE JACQUES, RICHARD W. KUCKSDORF,
                          WILLIAM T LIGON, MATTHEW MADDOCK, JEFF L MURSAU, PENNSYLVANIA
                          VOTERS ALLIANCE, WARREN PETERSON, DAIRE RENDON, BRENDA SAVAGE,
                          DAVID STEFFEN, LYNIE STONE, WISCONSIN VOTERS ALLIANCE, JOHN WOOD
                          re 16 Notice of Voluntary Dismissal . (Kaardal, Erick) (Entered: 01/07/2021)



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